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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                             CASE NO. 2:12-CR-0080 TLN
11
                                    Plaintiff,             ORDER SEALING DOCUMENTS AS SET FORTH
12                                                         IN GOVERNMENT’S NOTICE
                             v.
13
     JAMES BRADLEY,
14
                                   Defendant.
15

16

17           Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
18 Request to Seal, IT IS HEREBY ORDERED that the government’s motion and memorandum moving

19 for a departure under USSG 5K1.1 pertaining to defendant James Bradley and Government’s Request to

20 Seal shall be SEALED until further order of this Court.

21           It is further ordered that access to the sealed documents shall be limited to the government and
22 counsel for the defendant.

23           The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court for
24 the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in the

25 Government’s request, sealing the Government’s motion and memorandum pursuant to U.S.S.G 5K1.1

26 serves a compelling interest. The Court further finds that, in the absence of closure, the compelling interests
27 identified by the Government would be harmed. In light of the public filing of its request to seal, the Court

28 further finds that there are no additional alternatives to sealing the Government’s motion pursuant to U.S.S.G


       ORDER SEALING DOCUMENTS AS SET FORTH IN             1
30     GOVERNMENT’S NOTICE
              Case 2:12-cr-00080-TLN Document 254 Filed 04/28/17 Page 2 of 2

 1 5K1.1 that would adequately protect the compelling interests identified by the Government.

 2 Dated: April 27, 2017

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                                                         Troy L. Nunley
 6                                                       United States District Judge
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      ORDER SEALING DOCUMENTS AS SET FORTH IN           2
30    GOVERNMENT’S NOTICE
